Case 2:22-cv-00792-JES-NPM Document 25 Filed 09/12/23 Page 1 of 2 PageID 193



                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

CHARLES JOHNSON,
individually,

           Plaintiff,

v.                                 Case No:    2:22-cv-792-JES-NPM

BJ’S WHOLESALE CLUB, INC.,

           Defendant.


                                   ORDER

     This matter comes before the Court on the Status Report of

Mediator/Notice of Cancellation of Mediation (Doc. #24), filed on

September 11, 2023.         The Mediator indicates that the parties

advised him that a settlement was reached between the parties and

therefore the formal mediation date is cancelled.

     Accordingly, it is hereby

     ORDERED AND ADJUDGED that the case is hereby DISMISSED,

without prejudice and subject to the right of the parties, within

THIRTY (30) DAYS of the date hereof, to submit a stipulated form

of final order or judgment or request an extension of time should

they so choose, or for any party to move to reopen the action,

upon good cause being shown.       After that THIRTY (30) DAY period,

however, without further notice or order, this dismissal shall be

deemed with prejudice and judgment will be entered.          The Clerk is

directed   to   terminate   any   previously   scheduled   deadlines    and
Case 2:22-cv-00792-JES-NPM Document 25 Filed 09/12/23 Page 2 of 2 PageID 194



pending   motions,   and   administratively    close   the   case   pending

further Order.

     DONE and ORDERED at Fort Myers, Florida, this             12th     day

of September 2023.




Copies:
Counsel of Record




                                   - 2 -
